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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

NATIONWIDE LIFE INSURANCE COMPANY,
a foreign corporation,

Plaintiff, Case No. 2:11-cv-12422-AC-MKM
v. Hon. Avern Cohn

WILLIAM KEENE, JENNIFER KEENE,
_ MONICA LYNN LUPILOFF, NICOLE RENEE
LUPILOFF and NICOLE RENEE LUPILOFF,
PERSONAL REPRESENTATIVE OF THE
ESTATE OF GARY LUPILOFF, DECEASED,
Defendants.

And

WILLIAM KEENE and JENNIFER KEENE,
Counter-Plaintiffs,

Vv.

NATIONWIDE LIFE INSURANCE COMPANY,
a foreign corporation,

Counter-Defendant.

Michael F. Schmidt (P25213) John H. Bredell (P36577)
Harvey Kruse, P.C. Bredel! & Bredell

Attorney for Plaintiff Attorney for Defendants, William
1050 Wilshire Drive, Suite 320 & Jennifer Keene

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COUNTER-COMPLAINT

Counter-Plaintiffs-Defendants, William Keene and Jennifer Keene, through their
attorneys, Bredell and Bredell, and for their Complaint, say as follows:

1. Counter-Plaintiffs/Defendants, William Keene and Jennifer Keene, are
residents of Ann Arbor, Washtenaw County, Michigan.

2. Counter-Defendant/Plaintiff, Nationwide Life Insurance Company, is an Ohio
corporation with its principal place of business located in Columbus, Ohio, and conducts
a regular and systematic part of its business in the State of Michigan.

3. The amount in controversy exceeds $75,000.00.

COUNT I

Breach of Contract Claim

4, Plaintiff incorporates by reference paragraphs 1 through 3.
5. Gary Lupiloff purchased a policy of life insurance with Counter-

Defendant/Plaintiff, Nationwide Life Insurance Company, in the amount.of $500,000.00.

6. On or about April 4, 2007, in consideration for certain business debts, Gary
Lupiloff designated William Keene as the “new owner’ of the life Insurance police. (See
Exhibit A.)

7. On or about July 13, 2010, Gary Lupiloff was shot in the back while standing

in his own driveway.
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8. On that same day, July 13, 2010, Gary Lupiloff died from his injuries.

9. Pursuant to the terms of Gary Lupiloff's policy of insurance with Nationwide,
Nationwide became obligated to pay a half million dollars to the owner of the policy which
is William Keene.

10. Plaintiff has submitted satisfactory proof of the claim to Nationwide Life
Insurance Company.

11. | Eventhough Gary Lupiloff was killed by homicide, Nationwide Life Insurance
Company remains obligated to pay the insurance policy to William Keene and there is
absolutely no evidence whatsoever that William Keene had any knowledge or involvement
in the homicide of Gary Lupiloff.

12. Because Nationwide Life Insurance Company has received timely and
satisfactory notice and proof of claim and failed to pay the proceeds of the insurance
policy, Counter-Defendant/Plaintiff Nationwide Life Insurance Company has breached its
policy of insurance with William Keene.

WHEREFORE, Plaintiff seeks judgment against Counter-Defendant/Plaintiff, in
whatever amount he is found to be entitled to in excess of $25,000.00, plus interest, costs,

and no-fault attorney fees.

COUNT Il

Violation of Uniform Trade Practice Act MCL 500.2006(4)

13. | Counter-Plaintiffs/Defendants incorporate by reference paragraphs 1 through

12 above.
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14. Counter-Plaintiffs/Defendants have submitted satisfactory proof of loss to the
Nationwide Life Insurance Company.

15. None ofthe benefits to which Counter-Plaintiffs/Defendants are is entitled are
“reasonably in dispute.”

16. Asaresult of Nationwide Life Insurance Company’s delay and failure to pay,
Nationwide Life Insurance Company is liable to Counter-Plaintiffs/Defendants for 12%
interest pursuant to 500.2006(4) and judgment interest pursuant to MCL 600.601 3(5).

WHEREFORE, Counter-Plaintiffs/Defendants are entitled to penaity interest
pursuant to MCL 500.2006(4) in addition to the proceeds of the insurance policy.

Respectfully submitted:
/si John H. Bredell

John H. Bredeli (P36577)
Attorney for Plaintiff

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P36577

CERTIFICATE OF SERVICE

| hereby certify that on June 17, 2011, | electronically filed the foregoing paper
and all exhibits with the Clerk of the Court, using the ECF system which will send
notification of such filing to the following:

/s/_ John H. Bredell

John H. Bredell

Attorney for Plaintiff

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